     Case: 1:21-cr-00239 Document #: 68 Filed: 10/20/23 Page 1 of 1 PageID #:173

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:21−cr−00239
                                                           Honorable Manish S. Shah
Daniel M Rosenbaum
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, October 20, 2023:


       MINUTE entry before the Honorable Manish S. Shah: as to Daniel M.
Rosenbaum. By agreement of the parties, sentencing is reset to 2/13/24 at 1:30 p.m.
Sentencing memoranda with objections to the presentence report and discussing 18 U.S.C.
§ 3553(a) factors must be filed (in one combined filing per side) by 1/30/24. Any
responses must be filed by 2/6/24. Failure to file the memoranda by that deadline risks
waiver of any objections to the presentence report. Notices mailed. (psm, )




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